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DALLAS DIVISION Deputy

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“U.S, DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED
JUN 2 3 2020

 

 

 

 

 

IN THE UNITED STATES DISTRICT CC

 

 

 

UNITED STATES OF AMERICA
V.

NO.
3-20CRO0283-N

PHILIP RUSSELL ARCHIBALD (01)
DANIELLE BROOKE BOCANEGRA (02)
INDICTMENT
The Grand Jury charges:
Count One
Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance
[21 U.S.C. § 846 (21 U.S.C. § 841)]

Between on or about January 1, 2019, and on or about June 8, 2020, in the Dallas
Division of the Northern District of Texas and elsewhere, the defendants, Philip Russell
Archibald and Danielle Brooke Bocanegra, knowingly and intentionally combined,
conspired, confederated and agreed with each other and with other persons known and
unknown to the Grand Jury, to distribute and possess with intent to distribute a Schedule
III controlled substance, to-wit: anabolic steroids, as defined in 21 U.S.C. § 802(41), and

in violation of 21 U.S.C. § 841(a)(1).

All in violation of 21 U.S.C. §§ 846 and 841(b)(1)(E)(i).

Indictment- Page 1

 
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Count Two
Possession with Intent to Distribute Controlled Substance
[21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2]

On or about May 31, 2019, in the Dallas Division of the Northern District of
Texas, the defendants, Philip Russell Archibald and Danielle Brooke Bocanegra, did
knowingly and intentionally possess with intent distribute a Schedule III controlled
substance, to-wit: anabolic steroids, as defined in 21 U.S.C. § 802(41).

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(E)(i), and 18 U.S.C. § 2.

Indictment— Page 2

 
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Count Three
Use of the Mail in Causing or Facilitating a Controlled Substance Offense
[21 U.S.C. § 843(b) and 18 U.S.C. § 2]
Between on or about May 31, 2019, and on or about June 3, 2019, in the Dallas
Division of the Northern District of Texas and elsewhere, the defendants, Philip Russell
Archibald and Danielle Brooke Bocanegra, did knowingly and intentionally use a
communication facility, the United States Mail, in committing, causing and facilitating
the commission of any act or acts constituting a felony under 21 U.S.C. § 841(a)(1), that

is, the offense set forth in Count Two of this Indictment incorporated by reference herein.

All in violation of 21 U.S.C. § 843(b) and 18 U.S.C. § 2.

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Count Four
Possession of a Firearm by a Prohibited Person
[18 U.S.C. § 922(g)(3)]

Between on or about May 30, 2020, and on or about June 8, 2020, in the Dallas
Division of the Northern District of Texas and elsewhere, the defendant, Philip Russell
Archibald, knowing that he was an unlawful user of a controlled substance as defined in
21 U.S.C. § 802, did knowingly possess, in and affecting interstate and foreign
commerce, firearms, to-wit: the Sun City Machinery Co. Model Stevens 320 12-gauge
shotgun, bearing serial number 133766K; and the Smith & Wesson M&P Shield EZ 380

caliber handgun, bearing serial number RDN0810.

In violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2).

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Forfeiture Notice
[21 U.S.C. § 853(a); 18 U.S.C. § 924(d) & 28 U.S.C. § 2461(c)]

The allegations contained in Counts One through Four of this Indictment are
hereby realleged and incorporated by reference for purpose of alleging forfeiture pursuant
to 21 U.S.C. § 853(a), and 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

Upon conviction for any of the offenses alleged in Counts One through Three of
this Indictment and pursuant to 21 U.S.C. § 853(a), the defendants, Philip Russell
Archibald and Danielle Brooke Bocanegra, shall forfeit to the United States of America
any and all property, real or personal, constituting or derived from, the proceeds obtained,
directly or indirectly, as a result of the respective offense; and any property, real or
personal, used or intended to be used, in any manner or part, to commit or facilitate the
commission of the respective offense.

Upon conviction for any of the offenses alleged in Counts One through Four of
this Indictment and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the
defendant, Philip Russell Archibald, shall forfeit to the United States of America any
firearm and ammunition used or involved in the respective offense.

The property subject to forfeiture includes the following:

a. Sun City Machinery Co. Model Stevens 320 12-gauge shotgun, bearing serial

number 133766K;

b. Smith & Wesson M&P Shield EZ 380 caliber handgun, bearing serial number

RDN0810;

c. Matrix Aerospace Corporation Model MA-15 rifle, bearing serial number 556-

OS795;

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d. Nodak Spud NDS-3 rifle, bearing serial number M003245;

e. Assorted shotgun shells;
f. 5.56 ammunition;

g. 380 caliber ammunition;

h. 7.62x39 ammunition; and

i. Any firearm magazines.

If any of the property described above, as a result of any act or omission of the

defendants cannot be located upon the exercise of due diligence; has been transferred or

sold to, or deposited with, a third party; has been placed beyond the jurisdiction of the

court; has been substantially diminished in value; or has been commingled with other

property which cannot be divided without difficulty, the United States of America shall

be entitled to forfeiture of substitute property pursuant to 21 U.S.C. § 853(p).

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A TRUE BILL:

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FOREPERSON

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

THE UNITED STATES OF AMERICA
V.

PHILIP RUSSELL ARCHIBALD (01)
DANIELLE BROOKE BOCANEGRA (02)

 

INDICTMENT

21 ULS.C. § 846 (21 U.S.C. § 841)
Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance
(Count 1)

21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2
Possession with Intent to Distribute Controlled Substance
(Count 2)

21 U.S.C. § 843(b) and 18 U.S.C. § 2
Use of the Mail in Causing or Facilitating a Controlled Substance Offense
(Count 3)

18 U.S.C. § 922(g)(3)
Possession of a Firearm by a Prohibited Person

(Count 4)

21 U.S.C. § 853(a); 18 U.S.C. § 924(d) & 28 U.S.C. § 2461(c)
Forfeiture Notice

4 Counts

 

 

 

 

 

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DALLAS ‘
Filed in open court this Zo" day of June, 2020.

   

UNITED STATES MAGIS <ATE JUDGE
Magistrate Court Number: 3:20-MJ-562-BN
